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16                             UNITED STATES DISTRICT COURT
17                          SOUTHERN DISTRICT OF CALIFORNIA
18
     FENELLA ARNOLD and KELLY                     CASE NO. 3:19-cv-01969-WQH-MDD
19   NAKAI, individually and on behalf of all     DEFENDANTS’ MEMORANDUM OF
20
     others similarly-situated,                   POINTS AND AUTHORITIES IN
                                                  SUPPORT OF MOTION TO DISMISS
21                                                PLAINTIFFS’ COMPLAINT
                        Plaintiffs,
22                                                Date:              December 23, 2019
           v.                                     Judge:             Hon. William Q. Hayes
23
                                                  NO ORAL ARGUMENT UNLESS
24
     HEARST MAGAZINE MEDIA, INC., a               REQUESTED BY THE COURT
     Delaware corporation; CDS GLOBAL,
25   INC., an Iowa corporation; and DOES 1-
26
     50, inclusive,

27                      Defendants.
28

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 1                                     I.     INTRODUCTION
 2         In this putative class action, Plaintiffs Fenella Arnold and Kelly Nakai seek to impose
 3   liability on Hearst Magazine Media, Inc. (“HMM”) and CDS Global, Inc. (“CDS”; together
 4   with HMM, “Defendants”) for allegedly misleading HMM’s magazine subscribers during
 5   the subscription process. Although the Complaint purports to assert claims under a variety
 6   of California statutes, it fails to allege essential elements required to assert cognizable
 7   violations of law, and must therefore be dismissed.
 8         Arnold’s ARL Claims. Arnold’s claims are based on Defendants’ supposed violation
 9   of California’s Automatic Renewal Law (“ARL”), which requires certain disclosures in
10   connection with offers subject to automatic renewal. Arnold’s claims fail at the most basic
11   level, however, because the Complaint alleges no facts about the offer to which Arnold
12   responded; in fact, the Complaint openly concedes that Arnold “does not have a copy of
13   that advertisement,” and expressly hopes to cure this glaring defect “through discovery.”
14   Under Twombly and Iqbal, Arnold’s failure to plead the form and substance of Defendants’
15   offer (including any disclosure of any automatic-renewal aspect) dooms her claims, and her
16   desire to substantiate her claims through discovery cannot revive them.
17         Nakai’s ARL Claims. Nakai’s attempt to plead an ARL violation fares no better.
18   The ARL applies only to offers containing “automatic renewal offer terms,” which is
19   expressly defined in the statute to require, inter alia, “recurring” charges. Nakai does not
20   allege that she ever incurred an “automatic” or “recurring” charge as required under the
21   ARL. Further, Nakai does not plead how or why Defendants’ offer to Nakai failed to
22   comply with the ARL, factual allegations required to allege a plausible claim. She fails to
23   allege which, if any, required “automatic renewal offer terms” Defendants failed to disclose,
24   and she also fails to allege how, if at all, Defendants’ disclosures failed to meet the statutory
25   definition of “clear and conspicuous.”
26         Nakai’s “False Invoice” Claims. In addition to her ARL claims, Nakai purports to
27   assert claims arising out of her allegation that Defendants supposedly sent her a “false”
28   invoice requesting payment for a one-year magazine subscription, in violation of California
                                                    1
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 1   Civil Code § 1716. But the Complaint’s own allegations, including the order form Nakai
 2   alleges she used to submit her order, make clear that Defendants’ invoice was not “in fact a
 3   solicitation for an order” as required to state a claim under Section 1716, but instead was a
 4   bona fide invoice that properly sought payment for an order that Nakai admits she placed.
 5   The order form makes clear that Nakai should have expected to receive a bill for a magazine
 6   subscription, and that she had the option of keeping one free issue of the magazine without
 7   paying the bill so long as she returned the bill marked “cancel.” In other words, Nakai
 8   cannot plausibly claim that the document she received was “in fact a solicitation for an
 9   order” under the statute, when she alleges that she placed an order and was billed for it.
10         Lack of Statutory Standing. In addition to suffering from various pleading defects
11   on the merits, Plaintiffs’ statutory claims fail as a matter of law because the Complaint fails
12   to allege injury caused by the alleged misconduct, as required to have statutory standing.
13   Nakai fails to plead facts necessary to establish a causal connection between Defendants’
14   allegedly improper conduct, on the one hand, and the $12.00 payment she made, on the
15   other. Specifically, Nakai fails to allege the specific circumstances of her payment, and
16   what, if anything, Defendants disclosed to her. Without a sufficient causal link, there is no
17   cognizable injury, and without that, there is no standing. Arnold fails to plead statutory
18   standing because she does not even allege the conduct that supposedly caused her injury.
19         Additional Claims. Plaintiffs’ claims under the CLRA, under the UCL, and for
20   unjust enrichment are derivative and fail for the same reasons as their ARL and false invoice
21   claims. Plaintiffs also fail to allege facts that could entitle them to injunctive relief.
22         Where, as here, the Complaint fails to allege elements required to establish violations
23   of law, it cannot survive a motion to dismiss. This motion should be granted in its entirety.
24        II.     SUMMARY OF ALLEGATIONS AND PROCEDURAL HISTORY1
25         A. Defendants’ Magazine Subscription Processes
26         According to the Complaint (“Compl.”), Hearst Magazine Media, Inc. is one of the
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         The following allegations are taken from the Complaint, the exhibits Plaintiffs annexed
28   to the Complaint, and documents central to or incorporated by reference into the
                                                     2
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 1   largest magazine publishers in the world.           In the United States, HMM publishes
 2   approximately two dozen magazine titles, including Food Network Magazine, HGTV
 3   Magazine, Cosmopolitan, Good Housekeeping, Woman’s Day, Country Living, and Car &
 4   Driver. (Compl. ¶ 9.) CDS Global, Inc. provides magazine fulfillment services for HMM
 5   as well as other magazine publishers, and those fulfillment services “may include assisting
 6   with subscriptions, billing, collection, and/or other account services.” (Compl. ¶ 10.)
 7         Subscribers to HMM’s magazines may order a magazine subscription in a variety of
 8   paths, including, but not limited to, transmitting the order electronically by filling out an
 9   online order form. (See, e.g., Compl. Ex. 4.) Depending on the order form used to place
10   the order, the placement of the subscription order does not necessarily occur
11   contemporaneously with payment. In some online forms, the customer is given an option
12   to provide payment information contemporaneously, or else to elect to receive a bill
13   separately. In other online forms, there is no option for the customer to submit payment
14   simultaneously with the order, and the customer is billed afterwards. (See id.) If the
15   subscription is a “bill me later” order, the customer is sent an invoice for the magazine
16   subscription requesting payment. (Compl. ¶ 28.) If the customer responds to that invoice
17   by providing her credit card, debit card, or third-party payment account information, only
18   then is she charged for her subscription order. In some instances, that invoice can take the
19   form of an email containing a link to an online payment form. (Id.)
20         Many HMM magazine subscriptions are enrolled in HMM’s Continuous Service
21   Program. (Compl. ¶ 13.) In those cases, Defendants inform the subscriber at the time she
22   places her order that she “will receive uninterrupted service” unless the customer otherwise
23   directs, and that the subscription will be “automatically renewed at the end of each
24   subscription term, at the rate(s) then in effect.” (Compl. Ex. 4.) Defendants’ order form
25   expressly provides that the subscriber “authorize[s] [Hearst] to fulfill [her] subscription and
26   charge the credit/debit card if provided, or send [her] a bill if not.” (Id.)
27
     Complaint. The allegations of fact are taken as true solely for purposes of this Motion to
28   Dismiss.
                                                    3
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 1         B. Fenella Arnold’s Subscription to HGTV Magazine
 2         Arnold alleges that “[i]n or about June 2017, in response to one of Defendants’
 3   advertisements, Arnold submitted an order for a two-year subscription to HGTV Magazine.”
 4   (Compl. ¶ 23.) The Complaint expressly concedes that Arnold “does not have a copy of the
 5   specific advertisement to which she responded” (¶ 23), and she alleges no facts as to that
 6   advertisement’s form or contents, including, but not limited to, the language used to
 7   describe the terms of her subscription (including any automatic-renewal or continuous-
 8   service aspect), or the typeface, size, color, or placement of any such terms. Arnold does
 9   not plead that she read or relied on the unidentified advertisement.
10         Arnold also alleges that “[o]n July 3, 2017, Defendants charged $22.00 to Arnold’s
11   credit card for that two-year subscription” (¶ 23), but the Complaint does not allege when
12   or how she supplied her payment information to Defendants. Among other things, Arnold
13   does not allege whether she provided her payment information to Defendants by calling a
14   customer service representative, by submitting an electronic form, by sending her
15   information to Defendants in the mail, or through some other means. She also does not
16   allege the content or form of any disclosures included on any forms she may have completed
17   (including any request for consent to make recurring charges), or otherwise communicated
18   to her during any other customer service interactions she may have had, in connection with
19   submitting payment. Arnold alleges that “[o]n June 28, 2019 . . . Defendants posted a charge
20   of $34.97 to Arnold’s credit card, purportedly for renewal of HGTV Magazine.” (¶ 24.)
21         The Complaint is silent as to any other correspondence Arnold received from
22   Defendants in connection with her subscription; among other things, the Complaint pleads
23   no facts as to whether she was provided with an acknowledgement setting forth the terms
24   of her subscription (including any automatic-renewal or continuous-service aspects).
25         C. Kelly Nakai’s Subscription to Food Network Magazine
26         Nakai alleges that on September 5, 2018, she entered a sweepstakes for a chance to
27   win tickets, airfare, and lodging to attend the New York City Wine & Food Festival. (¶ 26.)
28   Nakai alleges that the sweepstakes promotion she responded to included an offer for a free
                                                   4
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 1   issue of Food Network Magazine. (¶ 27 & Ex. 4.) Nakai alleges she submitted that
 2   sweepstakes entry through an online order form (the “Nakai Order Form”), a copy of which
 3   was attached to the Complaint as Exhibit 4. (A more legible copy of the identical document
 4   is submitted as Exhibit A to the accompanying Declaration of Robert J. Herrington. See
 5   Decl. Ex. A.2)
 6         The Nakai Order Form makes clear to the user that through submission of the form,
 7   the user is entering an order for a one-year subscription to Food Network Magazine, and
 8   sets forth the terms of the subscription, including how the user can receive “1 FREE issue
 9   of Food Network Magazine” while cancelling the remainder of the subscription.
10   Specifically, the form alerts the subscriber that she should expect to receive a bill for $12.00
11   for a one-year subscription to the magazine, and further states that if the subscriber does not
12   want to go forward with the one-year subscription, the subscriber may “keep the first issue
13   with no obligation” by simply “return[ing] the bill marked ‘cancel’”:
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23   (Nakai Order Form (Decl. Ex. A), at 1.) Elsewhere, the form states that the subscription
24   includes automatic renewal and continuous service. (Id.) Directly above the “SUBMIT”
25   button and set off by an asterisk and the boldface heading “Continuous Service Program,”
26
     2
27       References to “Decl. Ex. ___” are to exhibits to the Declaration of Robert J. Herrington
     filed concurrently with this motion, which are also exhibits to Defendants’ Request for
28   Judicial Notice, also filed concurrently with this motion.
                                                    5
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 1   the form expressly states that the user’s “subscription(s) will be automatically renewed at
 2   the end of each subscription term” and that by submitting the form, the subscriber is
 3   authorizing Defendants to “charge the credit/debit card if provided, or send me a bill if not”:
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12   (Id.) Nakai does not allege that she read or relied on any of the statements contained in the
13   Nakai Order Form.
14         The Complaint does not allege that Nakai incurred any credit card charges upon
15   submission of the Nakai Order Form.           Instead, Nakai alleges she received emails
16   “[t]hereafter” containing an electronic invoice, and that she “paid the ‘invoice’ with her
17   credit card, in the amount of $12.00.” (¶¶ 28-29.) The Complaint includes what appears to
18   be a partial screenshot of the invoice, which appears to include a clickable button with the
19   words “PAY YOUR INVOICE” (¶ 28), but the Complaint does not allege with sufficient
20   particularity how Nakai paid the invoice “with her credit card.” For example, Nakai does
21   not allege whether she clicked on the button or provided her payment information to
22   Defendants through some other means (e.g., phone, mail, elsewhere online). She also does
23   not allege the content or form of any disclosures included on any forms she may have
24   completed (including any request for consent to make recurring charges), or otherwise
25   communicated to her during any other customer service interactions she may have had, in
26   connection with submitting her payment.
27         Nakai alleges, on information and belief, that “the Food Network Magazine
28   subscription into which Defendants enrolled her is an automatic-renewal subscription.” (¶
                                                   6
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 1   32.) The Complaint does not allege that Nakai incurred any charges, automatic, recurring,
 2   or otherwise, in connection with any renewal. The Complaint also provides no facts as to
 3   whether she was provided with an acknowledgement setting forth the terms of her
 4   subscription (including any automatic-renewal or continuous-service aspects).
 5         D. The Complaint
 6         Both Arnold and Nakai purport to represent a class of “[a]ll individuals in California
 7   who, within the applicable limitations period, were enrolled by Defendants in an automatic
 8   renewal program or continuous service program and had a credit card, debit card, and/or a
 9   third-party payment account charged by Defendants as part of such program.” (¶ 36.) On
10   behalf of this so-called “ARL Class,” Plaintiffs purport to bring claims under the ARL, Cal.
11   Bus. & Prof. Code § 17600 et seq., the Consumer Legal Remedies Act (“CLRA”), Cal. Civ.
12   Code § 1770, and the Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code § 17200.
13   (¶¶ 44-47, 53-66.) The gravamen of these claims is set forth in Paragraph 13:
14                      One aspect of Defendants’ negative option model is to solicit
15                orders for magazine subscriptions that purport to be for a fixed period
                  of time (e.g., one year, or two years), whereas upon receipt of an order,
16
                  Defendants enroll the consumer in a program under which the magazine
17                subscription will be “automatically renewed” for subsequent periods,
                  with corresponding charges to the consumer’s credit card, debit card, or
18
                  other payment account. Defendants enroll consumers in such
19                ‘automatic renewal’ subscriptions without making the clear and
                  conspicuous disclosures required by California law.
20

21   (¶ 13.)
22         In addition, Nakai purports to represent a class of “[a]ll individuals in California who,
23   within the applicable limitations period, received an invoice, bill, or account statement from
24   Defendants for magazines that Defendants’ [sic] represented to be ‘free’ and/or for
25   magazine subscriptions that had not been ordered.” (¶ 37.) On behalf of this so-called
26   “False Invoice Class,” Nakai purports to bring claims under California Civil Code § 1716,
27   the CLRA, and the UCL. (¶¶ 44-66.) These claims are based on the allegation that “[w]hen
28   a consumer enters a sweepstakes with a request for the (supposedly) ‘FREE’ issue,
                                                   7
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 1   Defendants thereafter send the consumer an ‘invoice’ stating that payment is due for a year-
 2   long subscription to the magazine when, in fact, the recipient did not previously request a
 3   subscription and no money is actually due.” (¶ 14.)
 4         Both Arnold and Nakai purport to bring claims for unjust enrichment in addition to
 5   their statutory claims. (¶¶ 67-69.) Both also seek injunctive relief in addition to restitution
 6   and damages. (¶¶ 47, 58, 66.)
 7         E. Procedural History
 8         Plaintiffs filed this action in California Superior Court on September 10, 2019. On
 9   October 10, 2019, Hearst timely removed this action to this Court pursuant to the Class
10   Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d). (ECF Dkt. No. 1.) On October 17,
11   2019, this Court entered an order extending Hearst’s time to respond to the Complaint to
12   November 18, 2019. (ECF Dkt. No. 5.)
13                                   III.   LEGAL STANDARD
14         “Dismissal under Rule 12(b)(6) is proper when the complaint either (1) lacks a
15   cognizable legal theory or (2) fails to allege sufficient facts to support a cognizable legal
16   theory.” Somers v. Apple, Inc., 729 F.3d 953, 959 (9th Cir. 2013).
17         Rule 8(a)(2) of the Federal Rules of Civil Procedure requires that a complaint contain
18   “‘a short and plain statement of the claim showing that the pleader is entitled to relief,’ in
19   order to ‘give the defendant fair notice of what the . . . claim is and the grounds upon which
20   it rests.’” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). A complaint fails to meet
21   the requirements of Rule 8(a)(2) and is subject to dismissal pursuant to Rule 12(b)(6) where
22   the complaint fails to articulate “enough facts to state a claim to relief that is plausible on
23   its face.” Id., at 570. “A claim has facial plausibility when the plaintiff pleads factual
24   content that allows the court to draw the reasonable inference that the defendant is liable for
25   the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “A plaintiff must
26   provide ‘more than labels and conclusions, and a formulaic recitation of the elements of a
27   cause of action will not do.’” Gershman v. Bayer HealthCare LLC, No. 14-CV-05332-
28   HSG, 2015 WL 2170214, at *2 (N.D. Cal. May 8, 2015) (quoting Twombly, 550 U.S. at
                                                   8
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 1   555). In addition, “[a] court need not accept as true allegations that contradict matters
 2   properly subject to judicial notice or by exhibit” or other materials central to or incorporated
 3   by reference into the complaint, including allegedly false advertising. Id. (citation and
 4   quotation marks omitted); Viggiano v. Hansen Nat. Corp., 944 F. Supp. 2d 877, 882-83
 5   (C.D. Cal. 2013) (considering allegedly false labeling).
 6         The heightened pleading standard of Rule 9(b) requires the complaint to “state with
 7   particularity the circumstances constituting fraud.” Fed. R. Civ. P. 9(b). “Averments of
 8   fraud must be accompanied by the who, what, when, where, and how of the misconduct
 9   charged.” Kearns v. Ford Motor Co., 567 F.3d 1120, 1124 (9th Cir. 2009) (quoting Vess v.
10   Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2003)). As the Ninth Circuit has
11   recognized, Rule 9(b) applies to claims under the CLRA, UCL, and to claims brought under
12   California’s False Advertising Law (“FAL”), where such claims sound in fraud or are
13   grounded in claims of allegedly misleading and false advertising. See Kearns, 567 F.3d at
14   1126; Vess, 317 F.3d at 1102-05; see also Chase v. Hobby Lobby Stores, Inc., No. 17-cv-
15   00881-GPC-BLM, 2017 WL 4358146, at *7 (S.D. Cal. Oct. 2, 2017) (“The heightened
16   pleading standard applies to claims under the CLRA, UCL, and FAL.”); Grimm v. APN
17   Inc., No. 8:17-cv-00356-JVS-JCG, 2017 WL 6398148, at *5-6 (S.D. Cal. Aug. 31, 2017)
18   (“When a plaintiff alleges a ‘unified course of fraudulent conduct and rel[ies] entirely on
19   that course of conduct as the basis of a claim, . . . [that] claim is said to be “grounded in
20   fraud” or to “sound in fraud,” and the pleading of the claim as a whole must satisfy the
21   particularity requirements of Rule 9(b).’”) (citation omitted).
22         Here, Plaintiffs’ Complaint leaves no doubt that their claims sound in fraud and are
23   grounded in claims of Hearst’s allegedly misleading and false advertising. (See, e.g.,
24   Compl. ¶¶ 33 (“Plaintiffs are not the only consumers to be victimized by Defendants in
25   connection with magazine subscriptions. There are hundreds of consumer complaints about
26   similar deceptive conduct . . . .”), 34 (referring to “Defendants’ scheme”).) The crux of
27   Plaintiffs’ automatic-renewal claims is that Defendants “solicit orders for magazine
28   subscriptions that purport to be for a fixed period of time (e.g., one year, or two years),
                                                    9
              DEFENDANTS’ MEMORANDUM OF POINTS & AUTHORITIES I/S/O MOTION TO DISMISS
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 1   whereas upon receipt of an order, Defendants enroll the consumer in a program under which
 2   the magazine subscription will be ‘automatically renewed’ for subsequent periods . . . .”
 3   (Compl. ¶ 13; see also ¶ 24 (“Defendants posted a charge of $34.97 to Arnold’s credit card,
 4   purportedly for renewal of HGTV Magazine.”) (emphases added).)
 5         Similarly, the crux of Nakai’s “false invoice” claims is the allegation that “[w]hen a
 6   consumer enters a sweepstakes with a request for the (supposedly) ‘FREE’ issue,
 7   Defendants thereafter send the consumer an ‘invoice’ stating that payment is due for a year-
 8   long subscription to the magazine when, in fact, the recipient did not previously request a
 9   subscription and no money is actually due.” (Compl. ¶ 14; see also ¶¶ 28 (“Nakai also
10   received emails from Defendants purporting to be an ‘INVOICE’ for a subscription to Food
11   Network Magazine . . . .”), 29 (“In fact, Nakai had never ordered a subscription to Food
12   Network Magazine, and no money was actually due.”) (emphases added).)
13         Both the automatic-renewal and the “false invoice” theories are thus based on
14   allegedly misleading or false solicitations or conduct. In the case of the automatic-renewal
15   claims, Plaintiffs allege that Defendants failed to inform consumers that they would be
16   subject to automatic renewal, while supposedly representing that their magazine
17   subscriptions would terminate at the conclusion of the apparent term; for the “false invoice”
18   claims, the Complaint alleges that Defendants supposedly misled consumers to submit
19   sweepstakes entries. The allegedly misleading nature of these practices is at the core of
20   Plaintiffs’ Complaint. (See, e.g., Compl. ¶¶ 45, 49, 57, 61, 68.) Accordingly, Plaintiffs
21   must plead their claims with particularity under Rule 9(b). See, e.g., Williamson v. McAfee,
22   Inc., No. 5:14-CV-00158-EJD, 2014 WL 4220824, at *6 (N.D. Cal. Aug. 22, 2014) (“Rule
23   9(b)’s heightened pleading standard applies to all UCL and FAL claims that are grounded
24   in fraud.”).
25                                      IV.    ARGUMENT
26         A. Arnold’s Threadbare Claims Fail to Satisfy Any Pleading Standard.
27         All of Arnold’s claims are based on a purported violation of the ARL, but the
28   Complaint is devoid of facts that state a claim for a violation of the ARL. She does not
                                                  10
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 1   allege what Defendants disclosed to her when she placed her subscription order or when
 2   she paid, and she does not even attempt to allege facts setting forth how she believes
 3   Defendants’ disclosures were misleading or otherwise fell short of the ARL’s requirements
 4   in form or substance in any way. Arnold concedes that she “does not have a copy” of the
 5   relevant disclosures, and does not claim to know what they stated. (Compl. ¶ 23.) The
 6   Complaint merely speculates that Arnold may be able to state a claim after she “seek[s]
 7   production” of the disclosures “through discovery.” (Id.) These allegations do not satisfy
 8   even notice pleading standards, and they certainly do not rise to the level of specificity and
 9   plausibility required under Rule 8, much less the particularity required under Rule 9(b).
10         In Twombly, the Supreme Court rejected the argument that a lack of specific and
11   plausible allegations can be offset by the hope for information in discovery. See 550 U.S.
12   at 556-57. The Court rejected a lower pleading standard that would allow for fishing
13   expeditions, where a plaintiff’s “optimism would be enough” to impose “the potentially
14   enormous expense of discovery.” Id. at 559. Under Twombly, to assert a claim grounded
15   on a violation of the ARL based on inadequate disclosures, the complaint must “sufficiently
16   detail the content of disclosures.” McKee v. Audible, Inc., No. 2:17-cv-01941-GW(Ex),
17   2017 WL 7388530, at *21 (C.D. Cal. Oct. 26, 2017). In McKee, plaintiff brought a variety
18   of claims against Audible, including a claim “brought under the theory that Defendant
19   violated the [ARL], and thus UCL, by utilizing unlawful automatic renewal payment
20   policies and providing incomplete disclosures of the policies.” Id. The court held that the
21   complaint did not even satisfy Twombly, because “McKee does not sufficiently detail the
22   content of disclosures he alleges Audible includes during the sign-up process . . . .” Id.
23         Arnold’s allegations are even more threadbare than those found insufficient in
24   McKee. In his complaint, McKee alleged,
25                Audible requires all consumers who sign up to designate a specific
26                credit card for Audible to charge automatically each month or year,
                  depending on the particular recurring payment plan. Audible fails,
27
                  however, to properly disclose to consumers all of the required recurring
28                payment and cancellation policies at the point of sale (i.e., at the “Start
                                                   11
              DEFENDANTS’ MEMORANDUM OF POINTS & AUTHORITIES I/S/O MOTION TO DISMISS
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 1               Now” or similar button). The limited disclosures Audible does provide
 2               are not clear and conspicuous, are not placed in close visual proximity
                 to the button consumers are asked to click, . . . and do not include the
 3               relevant cancellation terms.
 4   (Decl. Ex. B (First Amended Complaint in McKee v. Audible, Inc. (“McKee FAC”), No.
 5   CV 17-1941-GW(Ex) (S.D. Cal. filed Aug. 11, 2017) (Dkt. No. 40)) ¶ 5 (emphasis added);
 6   see also id. ¶ 39.) Here, the Complaint concedes that Arnold does not have the relevant
 7   disclsoures and thus has omitted all information about the relevant disclosures, and the
 8   Complaint rests solely on Arnold’s optimism that discovery will bear out a violation of the
 9   ARL. (Compl. ¶ 23.) Arnold does not attempt to allege what was misleading about, or
10   missing from, any advertisement, order form, invoice, acknowledgement, or any other
11   communication.
12         This pleading defect is exacerbated in the context of this case, because other parts of
13   the Complaint demonstrate that the Defendants do include disclosures regarding the terms
14   of automatic renewals. (See Nakai Order Form (Decl. Ex. A).) Furthermore, McKee’s
15   complaint alleged that “every consumer is required to designate one credit card that
16   Audible will automatically charge monthly or annually in perpetuity until the consumer
17   affirmatively cancels the recurring payments.” (McKee FAC (Decl. Ex. B) ¶ 36.) (emphasis
18   added). Here, by contrast, the Complaint does not allege that Hearst’s disclosures to all
19   consumers were deficient in the same way, and the Complaint’s allegations as to Nakai
20   make plain that some subscribers do not submit payment information simultaneously with
21   their subscription order, which raises the question of what information Hearst discloses to
22   these “bill me later” subscribers through the payment process before the subscriber incurs
23   any charges. See Dvora v. General Mills, Inc., No. 11-cv-1074-GW-PLA, 2011 WL
24   1897349, at *8 (C.D. Cal. May 16, 2011) (rejecting plaintiff’s attempt to rely on allegedly
25   misleading statements from website where “Plaintiff concedes in his opposition that he
26   never read or relied upon such statements in making his purchase”).
27         Given that these pleading defects are fatal under Rule 8 and Twombly, they also
28   cannot meet the heightened requirements of Rule 9(b). See, e.g., Kearns, 567 F.3d at 1127
                                                  12
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 1   (affirming dismissal of nondisclosure claims because they were “couched in general
 2   pleadings” which “do not satisfy the heightened pleading requirements of Rule 9(b)”);
 3   Beshwate v. BMW of North Am., LLC, No. 1:17-cv-00417-SAB, 2017 WL 4410169, at *13
 4   (E.D. Cal. Oct. 4, 2017) (“Plaintiffs failure to identify the specific advertisements does not
 5   provide Defendant CarMax with adequate notice of the alleged violations of the CLRA.
 6   The Court finds that first amended complaint fails to meet the pleading requirements of
 7   Rule 9.”) (internal citation omitted).
 8         Arnold cannot salvage her claims with the allegation that “she was not aware that
 9   Defendants were going to enroll her” in a continuous service program (Compl. ¶ 23),
10   because Arnold’s supposed ignorance does not support an inference that Defendants’
11   disclosures (whatever they may have been in form and substance) were misleading or
12   deficient in any way, particularly where, as here, Arnold does not allege that she read or
13   relied on any statements made by Defendants. Assuming Arnold was—as alleged—
14   unaware of the terms of the offer, her allegations provide no basis to attribute her
15   unawareness to an unclear, inconspicuous, or misleading disclosure.
16         All of Arnold’s claims are based on a predicate violation of the ARL or on a premise
17   that, given the alleged lack of a clear and conspicuous disclosure, she did not consent to
18   Defendants’ offer. In view of Arnold’s failure to include any allegations about the form or
19   content of Defendants’ disclosures, or how the unidentified disclosures were deficient or
20   misleading, each of Arnold’s causes of action should be dismissed.
21         Finally, Arnold’s attempt to bring a claim directly under the ARL (Compl. ¶ 46) is
22   defective for the additional reason that there is no private right of action under the ARL.3
23         B. Nakai Fails to Plead Her Statutory Claims.
24         Nakai pleads two sets of claims. First, like Arnold, she purports to bring claims based
25

26   3
        See, e.g., Johnson v. Pluralsight, LLC, 728 F. App’x 674, 676 (9th Cir. 2018) (Mem.
27   Op.); Lopez v. YP Holdings, LLC, No. 18-cv-8791-MWF, 2019 WL 2895190, at *3 (C.D.
     Cal. Mar. 26, 2019); Lopez v. Stages of Beauty, LLC, 307 F. Supp. 3d 1058, 1068 (S.D. Cal.
28   2018) (collecting cases). Nakai’s direct ARL claim also should be dismissed for this reason.
                                                  13
              DEFENDANTS’ MEMORANDUM OF POINTS & AUTHORITIES I/S/O MOTION TO DISMISS
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 1   on a supposedly improper automatic renewal. Second, she purports to bring claims based
 2   on Defendants’ allegedly “false” invoices. Each set of claims must be dismissed.
 3               1.    Nakai’s Automatic-Renewal Claims Fail Because She Does Not Allege
                       that She Was Subject to a “Recurring Charge.”
 4

 5          Nakai alleges, on information and belief, that her subscription to Food Network
 6   Magazine “is an automatic-renewal subscription.” (Compl. ¶ 32.) But the Complaint
 7   carefully avoids making any allegation that Nakai has ever incurred any automatic,
 8   recurring charges in connection with her magazine subscription. This fundamental defect
 9   is fatal to her claims.
10          The ARL does not apply to Nakai’s order because the Complaint does not allege that
11   Defendants made any automatic, recurring charge to her cards or payment accounts. As the
12   statute’s plain language makes clear, the ARL applies (and thus can be violated) only where
13   a business makes automatic, recurring charges to a consumer’s card or payment account.
14          By its terms, the ARL’s substantive requirements apply only where a business
15   “makes an automatic renewal offer or continuous service offer.” Id. § 17602(a). The term
16   “automatic renewal” is defined to mean “a plan or arrangement in which a paid subscription
17   or purchasing agreement is automatically renewed at the end of a definite term for a
18   subsequent term.” Id. § 17601(a). Though that definition does not explicitly refer to
19   automatic, recurring charges to payment cards or accounts, when read in context with the
20   rest of the ARL, there can be no doubt that the statute applies only to transactions with
21   automatic, recurring charges. See, e.g., Astaire v. Best Film & Video Corp., 116 F.3d 1297,
22   1300 (9th Cir. 1997) (“The words of the statute must be construed in context, keeping in
23   mind the statutory purpose, and statutes or statutory sections relating to the same subject
24   must be harmonized, both internally and with each other, to the extent possible.”) (quoting
25   Dyna-Med, Inc. v. Fair Emp’t & Hous. Comm’n, 43 Cal.3d 1379, 1387 (1987).
26          Each of the ARL’s three substantive requirements, located in subsections to Section
27   17602(a), is centered around the concept of “automatic renewal offer terms”:
28              Subsection (a)(1) makes it unlawful to “[f]ail to present the automatic
                                                 14
               DEFENDANTS’ MEMORANDUM OF POINTS & AUTHORITIES I/S/O MOTION TO DISMISS
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 1               renewal offer terms or continuous service offer terms in a clear and
 2               conspicuous manner”;
                Subsection (a)(2) prohibits charging the consumer for an automatic
 3               renewal or continuous service “without first obtaining the consumer’s
 4               affirmative consent to the agreement containing the automatic renewal
                 offer terms or continuous service offer terms”; and
 5
                Subsection (a)(3) requires “an acknowledgment that includes the
 6               automatic renewal offer terms or continuous service offer terms.”4
 7   The ARL specifically defines the term “automatic renewal offer terms” to mean several
 8   items, including the “recurring charges that will be charged to the consumer’s credit or
 9   debit card or payment account with a third party.” Id. § 17601(b)(3) (emphasis added).
10   These three subsections thus require disclosure of, inter alia, “recurring charges that will be
11   charged.” Section 17600, which expresses the legislative intent behind the ARL, similarly
12   refers to “ongoing charging of consumer credit or debit cards or third-party payment
13   accounts without the consumers’ explicit consent.” Id. § 17600 (emphasis added).
14         In other words, the text and structure of the ARL make plain that a transaction is
15   covered under Section 17602(a) if and only if the transaction involves “recurring charges”
16   to a payment account. (See Minute Order Granting Summary Judgment in Cortez v.
17   McClatchy (“McClatchy Order”), No. 34-2014-00169700-CU-BT-GDS (Cal. Super.
18   Sacramento Cnty. filed Aug. 16, 2018) (Dkt. No. 241), at 9, 10. (Decl. Ex. C).) Absent
19   recurring charges, the ARL does not apply and cannot be violated.                 A contrary
20   interpretation—requiring a business to disclose “recurring charges” where no such charges
21   are even made—is nonsensical and would be contrary to long-accepted principles of
22   statutory interpretation.    See, e.g., Woods v. Young, 53 Cal.3d 315, 323 (1991)
23   (“Interpretations that lead to absurd results or render words surplusage are to be avoided.”).
24         State and federal courts have found, as a matter of law, that the ARL is not violated
25   where there is no automatic, recurring charge to a card or payment account. In Cortez v.
26   McClatchy, the court granted summary-judgment dismissal of certain plaintiffs’ UCL
27
     4
        The Complaint alleges no facts relating to the “acknowledgement” required by Section
28   17602(a)(3).
                                                   15
              DEFENDANTS’ MEMORANDUM OF POINTS & AUTHORITIES I/S/O MOTION TO DISMISS
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 1   claims because the court found, as a matter of law, that “[t]he ARL . . . does not apply here,
 2   where the Plaintiffs were not charged to a credit or debit card or consumer account with a
 3   third party.” (McClatchy Order (Decl. Ex. C), at 9.) Noting that the definition of “automatic
 4   renewal offer terms” necessarily contemplated “recurring charges,” the court specifically
 5   rejected plaintiffs’ argument that “payment by debit or credit card is not a requirement of
 6   the ARL.” (Id. at 9.) And in Lopez v. YP Holdings, LLC, No. CV 18-8791-MWF, 2019
 7   WL 2895190 (C.D. Cal. Mar. 26, 2019), the court stressed that no automatic charge had
 8   been alleged. 2019 WL 2895190, at *4 (“Plaintiff has also failed to allege that she was
 9   automatically charged a fee to any of her accounts and instead noted that on February 16,
10   2018, she ‘mailed a check payable to Defendants for $100.00 as a result of Defendants
11   automatically renewing the contract.”’) (emphasis added).
12         Here, the Complaint not only fails to allege that Nakai was ever subject to an
13   automatic, recurring charge, but it makes apparent that no such automatic, recurring charge
14   took place. The Nakai Order Form does not provide a mechanism for her to supply her
15   payment information, and specifically discloses that, absent such information, the customer
16   will be sent a bill, both in connection with the initial order, and in any subsequent renewal.
17   Indeed, she alleges she received an invoice after the order and paid it. (Compl. ¶¶ 28-30.)
18         Where, as here, there is only a single charge alleged, and that charge was not made
19   automatically by Defendants, but instead was, according to the Complaint, initiated by
20   Nakai in response to an invoice, there is no claim for a violation of the ARL. See Lopez,
21   2019 WL 2895190, at *4; McClatchy Order (Decl. Ex. C), at 9, 10.
22               2.    Nakai’s Automatic-Renewal Claims Fail Because She Does Not Allege
                       How or Why Her Order Form Failed to Comply with the ARL.
23

24         Even if this Court held that the ARL applied to a subscription order where the plaintiff
25   has not alleged an automatic, recurring charge, Nakai’s automatic-renewal claims should
26   still be dismissed, because the Complaint fails to allege how or why Defendants violated
27   the ARL.
28         The Complaint makes the conclusory allegation that Defendants enroll subscribers in
                                                  16
                DEFENDANTS’ MEMORANDUM OF POINTS & AUTHORITIES I/S/O MOTION TO DISMISS
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 1   “‘automatic renewal’ subscriptions without making the clear and conspicuous disclosures
 2   required by California law” (Compl. ¶ 13), but does not allege that Defendants failed to
 3   make “clear and conspicuous” disclosures of “automatic renewal offer terms” to Nakai.
 4   The Complaint alleges that she ordered her magazine subscription by completing the Nakai
 5   Order Form, but does not allege how or why the Nakai Order Form failed to comply with
 6   the ARL. Specifically, the Complaint does not allege which, if any, of the required items
 7   set forth in the statutory definition of “automatic renewal offer terms” are missing. Cal.
 8   Bus. & Prof. Code § 17601(b). Nor does the Complaint allege how, if at all, the Nakai
 9   Order Form’s disclosures failed to meet the statutory definition of “clear and conspicuous.”
10   Id. § 17601(c). On its face, the Nakai Order Form contains disclosures regarding HMM’s
11   Continuous Service Program. Under Twombly and Iqbal, this Court should not credit
12   Plaintiffs’ conclusory characterization that these disclosures fail to comply with the ARL.
13   See Iqbal, 556 U.S. at 678 (“[T]he tenet that a court must accept as true all of the allegations
14   contained in a complaint is inapplicable to legal conclusions.”).
15         Moreover, “[t]o avoid dismissal . . . under Rule 9(b), [the] complaint would need to
16   ‘state the time, place, and specific content of the false representations . . . .’” Edwards v.
17   Marin Park, Inc., 356 F.3d 1058, 1066 (9th Cir. 2004) (citation omitted); Swartz v. KPMG
18   LLP, 476 F.3d 756, 764 (9th Cir. 2007). “To meet this standard a plaintiff must allege the
19   ‘who, what, where, when, and how’ of the misconduct and explain what is false or
20   misleading about the statement made and why it is false.” In re iPhone 4s Consumer Litig.,
21   637 F. App’x 414, 415 (9th Cir. 2016) (citing Cafasso ex. rel. United States v. Gen.
22   Dynamics C4 Sys., Inc., 637 F.3d 1047, 1055 (9th Cir. 2011)). Nakai’s automatic-renewal
23   claims fail to satisfy Rule 9(b). See, e.g., Shin v. Umeken USA, Inc., 773 F. App’x 373, 376
24   (9th Cir. 2019) (“Shin alleges that she was harmed by defective disclaimers accompanying
25   Umeken’s advertising claims . . . because their ‘inconspicuous’ nature rendered the
26   underlying advertising claims false or misleading. But Shin fails to describe with the
27   requisite particularity how any defect in Umeken’s disclaimers makes its other advertising
28   claims misleading.”) (internal citation omitted).
                                                   17
              DEFENDANTS’ MEMORANDUM OF POINTS & AUTHORITIES I/S/O MOTION TO DISMISS
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 1              3.    Nakai’s “False Invoice” Claims Fail Because She Does Not Allege
 2                    Facts Showing that the Invoice Was a Solicitation.

 3         Nakai’s “false invoice” claims are based on a misreading of California Civil Code §
 4   1716 and should be dismissed. That statute, a species of mail fraud, was enacted to address
 5   “[a] common fraudulent practice consist[ing] of sending mailed solicitations for the sale of
 6   goods or services in such form that the recipient mistakes them for an invoice for obligations
 7   already incurred and unthinkingly makes payment of the stated sum.” See Decl. Ex. D
 8   (Order Granting Defendant’s Motion for Partial Summary Judgment (“Samsung Order”),
 9   Samsung Int’l v. Allied Carriers Exchange, No. 3:00-cv-01074-K-POR (S.D. Cal. filed June
10   12, 2001) (ECF Dkt. No. 83), at 4 (analogizing § 1716 to criminal mail fraud)); see also 4
11   B.E. Witkin, Summary of California Law § 341 (11th ed. 2019). Section 1716 states, “[i]t
12   is unlawful for a person to solicit payment of money by another by means of a written
13   statement or invoice, or any writing that reasonably could be considered a bill, invoice, or
14   statement of account due, but is in fact a solicitation for an order” unless the solicitation
15   contains a specified warning. Cal. Civ. Code § 1716(a) (emphasis added).
16         Here, the Complaint’s own allegations make clear that the invoice at issue was a
17   properly issued bill seeking payment for an order placed by Nakai, not “in fact a solicitation
18   for an order,” and accordingly, Cal. Civ. Code § 1716 does not apply.
19         As alleged in the Complaint, Nakai’s “false invoice” claim relates to emails she
20   received as a result of entering a sweepstakes. Nakai alleges she entered a sweepstakes by
21   completing and submitting the Nakai Order Form online. (Compl. ¶ 27 & Ex. 4.) As alleged
22   in the Complaint, Defendants understood her sweepstakes entry to be an order for a
23   magazine subscription. (See Compl. ¶¶ 30 (“If Nakai had known that, upon receipt of her
24   sweepstakes entry, Defendants were going to enroll her in, and charge her for, a one-year
25   subscription for Food Network Magazine . . . .”), 32 (“If Nakai had known that Defendants
26   were going to treat her submission of a sweepstakes entry as enrollment into an automatic-
27   renewal subscription . . . .”).) Defendants sent her emails consistent with its understanding
28   that she had ordered a magazine subscription; the emails “thank[ed] [Nakai] for subscribing
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 1   to Food Network Magazine and entering the sweepstakes” and requested payment for the
 2   subscription. (¶ 28.) Far from being “in fact a solicitation for an order,” the Complaint
 3   itself alleges that Defendants understood the invoice to be an entirely proper bill seeking
 4   payment for a magazine that Nakai ordered.5
 5         The Nakai Order Form, attached to the Complaint, demonstrates the basis for
 6   Defendants’ understanding that Nakai had in fact ordered a magazine subscription. It makes
 7   clear that in filling out the form and clicking “SUBMIT,” Nakai was ordering a magazine
 8   subscription, but was free to cancel at any time, without payment, if she decided she did not
 9   want to continue receiving the magazines. (Nakai Order Form (Decl. Ex. A), at 1.) The
10   order form states, “If you like what you see, you’ll get 1 year (for a total of 11 issues) for
11   just $12.00 – that’s 78% less than others pay on the newsstand. If not, return the bill
12   marked ‘cancel’ and keep the first issue with no obligation. You’ll still be eligible to win
13   the sweepstakes.” (Id. at 1 (emphasis added).) Just above the “SUBMIT” button, the order
14   form includes disclosures relating to HMM’s Continuous Service Program, which further
15   serves to remind the user that she is about to order a subscription to a magazine: “I
16   understand that unless I tell you otherwise, I will receive uninterrupted service and access;
17   my subscription(s) will be automatically renewed at the end of each subscription term, at
18   the rate(s) then in effect. I authorize you to fulfill my subscription(s) and . . . send me a
19   bill . . . . I may opt out of the automatic renewal at any time by contacting customer service
20   referenced below and receive a refund for all undelivered issues.” (Id. (emphasis added).)
21         In Samsung International, Inc. v. Allied Carriers Exchange, No. 3:00-cv-01074-K-
22   POR (S.D. Cal.), the Court dismissed a “false invoice” claim where there was no dispute
23   that the plaintiff received “at least some over the road trucking services,” but disputed the
24   amount of the charges. The court, in dismissing the claim, held that “the plain meaning of
25   the phrase ‘but is in fact a solicitation for an order’ is that they limit the actual documents
26   that fall under the statute to those that are ‘in fact a solicitation.’” (Samsung Order (Decl.
27
     5
        Further, the Complaint alleges no facts that would support any inference that Defendants
28   did not fulfill the terms of Nakai’s subscription order.
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 1   Ex. D), at 5.) Observing that “the dispute concerns how much is actually owed to Allied
 2   and how much Allied overcharged Samsung,” the Samsung court held, “This is an error in
 3   billing, or perhaps a claim for fraud, not an attempt to solicit an order.” (Id. at 6.)
 4         Here, unlike in Samsung, the allegations in the Complaint do not support an inference
 5   of fraud or even a bona fide billing dispute; to the contrary, the Complaint’s own allegations
 6   and exhibits leave no room for doubt that Nakai placed an order for a magazine subscription
 7   on September 5, 2018, that Defendants understood her to have done just that, and that
 8   Defendants acted accordingly. As set forth in the Nakai Order Form, under the terms of
 9   Nakai’s subscription order, Nakai was given the option to cancel her subscription without
10   making any payment while keeping her “FREE” issue of Food Network Magazine. She
11   may now regret that she did not do so and instead chose to pay the invoice for the
12   subscription, but her second thoughts do not state a claim under Section 1716, or any claim
13   based on a purported violation of that provision.
14         C. Plaintiffs Fail to Plead Statutory Standing to Bring Their Statutory Claims.
15         To have statutory standing to sue under the FAL, CRLA, UCL, or Cal. Civ. Code §
16   1716, a plaintiff must allege an injury in fact and reliance on the allegedly misleading
17   conduct. See Kwikset Corp. v. Super. Ct., 51 Cal.4th 310, 326-27 ( 2011); In re Tobacco II
18   Cases, 46 Cal.4th 298, 326 (2009); Cal. Civ. Code § 1780(a); Meyer v. Sprint Spectrum,
19   L.P., 45 Cal.4th 634, 641 (2009); Cal. Civ. Code § 1716(g). Here, both plaintiffs fail to
20   plead facts showing statutory standing.
21         As set forth supra, Nakai does not allege that she was ever subject to an “automatic”
22   or “recurring” charge. Instead, the only conceivable basis for any claim of injury is her
23   payment of $12.00 relating to the initial order of Food Network Magazine. But Nakai does
24   not allege that she made that payment when she completed and submitted the Nakai Order
25   Form. Instead, the Complaint alleges that she made that payment in response to an invoice
26   she received in the form of an email. (Compl. ¶ 28.) The Complaint is conspicuously silent
27   as to how Nakai effectuated that payment; the Complaint does not plead whether Nakai
28   clicked on the payment link contained in the invoice, and it pleads no facts as to what, if
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 1   any, representations were contained on whatever form she actually used to submit her
 2   payment information and authorize Defendants to charge her card. Where, as here, the
 3   Complaint itself establishes that at least one more event must have occurred between any
 4   allegedly misleading conduct and any alleged injury, a plaintiff cannot establish statutory
 5   standing without pleading that missing step. Nakai has not done so here, and absent any
 6   such allegations, Nakai has not adequately alleged the requisite causal link between
 7   Defendants’ allegedly misleading conduct and any injury she suffered. See Brown v. Bank
 8   of Am., N.A., 457 F. Supp. 2d 82, 89 (D. Mass. 2006) (granting summary-judgment
 9   dismissal of Cal. UCL claim predicated on allegedly defective disclosures affixed to ATM
10   machines, where record established that ATMs required customers to click through a
11   disclosure screen notifying customers of the fees, thus “break[ing] the causal connection
12   between the defective notice and the payment of the fee”).
13         As for Arnold, any argument that she has alleged statutory standing is foreclosed by
14   her failure to allege what Defendants disclosed to her, or how those disclosures were
15   misleading or deficient. Having failed to plead the underlying violation, she cannot plead
16   causation.
17         D. Plaintiffs’ Claims Fail in Their Entirety.
18         As already shown, Plaintiffs’ ARL claims fail entirely. Arnold does not allege any
19   facts about the offer to which she responded. Nakai fails to adequately allege that her
20   subscription to Food Network Magazine was an “automatic renewal offer” or a “continuous
21   service offer,” as required for the ARL to apply. Nakai also fails to plead a viable claim for
22   a violation of California Civil Code section 1716 because she cannot plausibly claim that
23   the document she received was “in fact a solicitation for an order,” when she alleges that
24   she placed an order and was charged for it.
25         Plaintiffs’ remaining claims should be dismissed as well:
26         CLRA Claims. Plaintiffs’ CRLA claims are entirely conclusory and unsupported by
27   any factual allegations. Plaintiffs’ theory, among other things, is that Hearst falsely
28   represented that certain (unspecified) goods and services had certain (unspecified)
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 1   characteristics that they did not actually have. These are not factual allegations, but mere
 2   conclusory statements parroted from the statute. (Compare Compl. ¶ 57 with Cal. Civil
 3   Code § 1770.) Plaintiffs make no attempt to allege or explain what, exactly, Hearst falsely
 4   represented to them. See, e.g., Moran v. Am. Gen. Fin., No. 10-cv-1366-LAB, 2011 WL
 5   768141, at *2-3 (S.D. Cal. Feb. 28, 2011) (dismissing complaint where allegations were
 6   “copied from some other source” and emphasizing that “[c]utting and pasting text wholesale
 7   with an uncritical eye and with no regard for whether the allegations are supported by facts
 8   or law is a violation of Rule 11”).
 9         UCL Claims. Plaintiffs’ UCL claims are entirely derivative of their other failed
10   claims. Paragraph 61 of the Complaint purports to lay out the allegations for the UCL
11   claims, but each subsection in that paragraph does no more than to purportedly allege
12   violations of other laws. (See Compl. ¶ 61 subds. (a)-(c) (ARL), (d) (Cal. Civ. Code §
13   1716), (e)-(i) (CLRA).) See Lopez, 2019 WL 2895190, at *4 (finding plaintiff’s “UCL
14   claim fail[ed] to the extent it [was] predicated on her claim for violation of the ARL”
15   because “Plaintiff fail[ed] to allege sufficient facts to establish that she [was] a ‘consumer’
16   within the meaning of the ARL”).
17         Plaintiffs’ UCL claims fail for other reasons, too. Plaintiffs’ claim that Hearst
18   engages in unfair business practices relies on conclusory statements parroted from the UCL
19   legal standard. (Compare Compl. ¶¶ 62-63 with Cel-Tech Comm., Inc. v. Los Angeles
20   Cellular Tel. Co., 20 Cal. 4th 163, 184 (1999) (acknowledging definition of “unfair business
21   practice” as one that “offends an established public policy or when the practice is immoral,
22   unethical, oppressive, unscrupulous or substantially injurious to consumers.”) and Schnall
23   v. The Hertz Corporation, 78 Cal. App. 4th 1144, 1161 (2000) (explaining application of
24   the “reasonably available alternatives” standard in UCL action).) Similarly, Plaintiffs’
25   allegation that Hearst made false or misleading statements to deceive the “consuming
26   public” not only parrots from the UCL standard, but is devoid of any specificity as to how
27   Hearst engaged in fraudulent behavior. (Compare Compl. ¶ 64 with Comm. on Children’s
28   Television v. Gen. Foods Corp., 35 Cal. 3d. 197, 211 (1983), abrogated on other grounds
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 1   by Branick v. Downey Sav. & Loan Ass’n, 39 Cal. 4th 235, 242 (2006) (explaining that a
 2   business practice is “fraudulent” within the meaning of § 17200 if “members of the public
 3   are likely to be deceived”).)
 4         Unjust Enrichment. Finally, Plaintiffs’ claims for unjust enrichment fail as well.
 5   Under California law, unjust enrichment is not a cause of action, just a restitution claim.
 6   Hill v. Roll Int’l Corp., 195 Cal. App. 4th 1295, 1307 (2011).6
 7         E. Plaintiffs Are Not Entitled to Injunctive Relief.
 8         Plaintiffs cite the section of the FAL that allows plaintiffs to file “[a]ctions for
 9   injunction,” Cal. Bus. & Prof. Code § 17535, and they therefore allege that “[p]ursuant to
10   Bus. & Prof. Code § 17535, Plaintiffs and Class members are entitled to an injunction
11   enjoining Defendants” from continuing their alleged violations of the ARL. (Compl. ¶ 47.)
12   Plaintiffs seeking injunctive relief must allege a “sufficient likelihood that [they] will again
13   be wronged in a similar way . . . .” City of L.A. v. Lyons, 461 U.S. 95, 111 (1983). Here,
14   each Plaintiff alleges that “if [she] had known that Defendants were going to enroll her in
15   an automatically renewing magazine subscription program, [she] would not have submitted
16   the order . . . .” (Compl. ¶ 25; see also ¶ 32.) Accordingly, Plaintiffs have not plausibly
17   alleged that they would be injured again. See, e.g., Luman v. Theismann, 647 F. App’x 804,
18   807 (9th Cir. 2016).7 Because Plaintiffs do not allege any ongoing conduct or ongoing
19   harm, injunctive relief would not provide any redress to Plaintiffs and their claim for
20
     6
21       Nor are Plaintiffs entitled to restitution “pursuant to Bus. & Prof. Code §§ 17603 and
     17535 . . .” (Compl. ¶ 46.) Courts have routinely dismissed claims for equitable relief
22   under California’s consumer protection statutes “where plaintiffs have alleged other claims
23   presenting an adequate remedy at law.” Munning v. Gap. Inc., 238 F. Supp. 3d 1195, 1203
     (N.D. Cal. 2017) (collecting cases). Here, Plaintiffs have alleged a range of other claims
24   for damages (and even treble damages) foreclosing any argument that an equitable remedy
25   is necessary. The Complaint therefore does not state a claim for restitution.
     7
         In Davidson v. Kimberly-Clark Corp., 889 F.3d 956, 971 (9th Cir. 2018), the Ninth
26   Circuit held that a plaintiff faced an imminent or actual threat of future harm where the
27   plaintiff “alleged that she ‘continues to desire to purchase’” the defendant’s product in the
     future. Here, Plaintiffs do not allege or even suggest they want to purchase magazine
28   subscriptions or other products from Defendants in the future.
                                                   23
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 1   injunctive relief is moot.8    Where, as here, “Plaintiff does not plead facts . . . that
 2   [Defendants] are engaged in an ongoing [violation] that could be redressed by an injunction
 3   from this Court,” the claim for an injunction must be “dismissed as moot.” Elsharkawi v.
 4   United States, No. 8:18-cv-01971-JLS, 2019 WL 3811518, at *4-5 (C.D. Cal. Aug. 8,
 5   2019).
 6                                      V.     CONCLUSION
 7           For the foregoing reasons, Hearst respectfully requests that this Court enter an order
 8   dismissing the Complaint in its entirety pursuant to Rules 12(b)(1), 12(b)(6), and 9(b) of
 9   the Federal Rules of Civil Procedure, and granting such other relief as the Court deems just
10   and proper.
11
     Dated: November 18, 2019                           Respectfully submitted,
12
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13
                                                        OFFICE OF GENERAL COUNSEL
14
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     8
27      See Padilla v. Nev. Dep’t of Corr., 510 F. App’x 629, 630 (9th Cir. 2013) (Mem. Op.);
     Quigley v. Am. Claims Servs., Inc., No. 2:13-cv-01766-KJM-EFB, 2015 WL 1258563, at
28   *6 (E.D. Cal. Mar. 18, 2015).
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